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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN


  TIMOTHY BOZUNG, individually and on
  behalf of all others similarly situated,      Case No. 22-cv-00304-HYJ-RSK
                                                Honorable Hala Y. Jarbou
                    Plaintiff,
                                                Magistrate Judge Ray S. Kent

        v.

  CHRISTIANBOOK, LLC f/k/a
  CHRISTIAN BOOK DISTRIBUTORS
  CATALOG, LLC,

                    Defendant.

         PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY
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        Plaintiff, individually and on behalf of all others similarly situated, files this

 Notice of Supplemental Authority in support of Plaintiff’s Opposition (ECF No. 24)

 to Defendant’s Motion and Brief to Dismiss (ECF Nos. 18, 19):

        1.    On January 26, 2023, the Michigan Court of Appeals issued a published

 decision on a case similarly concerning the effect of the Michigan Supreme Court’s

 COVID-19 emergency administrative orders on determining court filing deadlines.

 See Carter v. DTN Mgmt. Co., --- N.W.2d ---, 2023 WL 439760 (Mich. Ct. App.

 Jan. 26, 2023) (examining tolling of statute of limitations under Administrative

 Orders 2020-3 and 2020-18). Case attached as Exhibit 1-A.

        2.    In Carter, the defendant argued and the trial court held that AO 2020-

 3 applied only to cases whose filing deadlines expired during the state of emergency.

 Carter, 2023 WL 439760, at *2. The defendant in Carter also argued that the

 Michigan Supreme Court has no authority to modify or toll the statute of limitations.

 Id. at *4.

        3.    Defendant here makes similar arguments in its motion to dismiss

 briefing. See ECF No. 19, PageID.1169; ECF No. 26, PageID.1234-1235.

        4.    The Carter court, however, in this published Michigan Court of

 Appeals case, holds that these Administrate Orders “broadly excluded any day

 within the state of emergency ‘for purposes of determining the deadline applicable




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 to the commencement of all civil and probate case types under MCR 1.108(1).’”

 Carter, 2023 WL 439760, at *3 (emphasis in Carter) (citing AO 2020-18).

        5.     The Carter court explained that, “[c]ontrary to the trial court’s

  conclusion, the Supreme Court did not exclude only deadlines that fell during the

  state of emergency. Rather, it more broadly excluded any day within the state of

  emergency ‘for purposes of determining the deadline applicable to the

  commencement of all civil and probate case types under MCR 1.108(1).’” Carter,

  2023 WL 439760, at *3 (citing AO 2020-3, emphasis in Carter); see also id. (“There

  is no language in AO 2020-18 limiting [it] to those whose filing deadline fell within

  the state of emergency.”).

        6.     Thus, after properly “applying the [COVID tolling] administrative

  orders,” the court in Carter “conclude[d] that plaintiff’s complaint was timely filed.”

  Carter, 2023 WL 439760, at *3 (“On March 10, 2020, plaintiff had 10 months left

  to file her complaint. Accordingly, she had that same amount of time to file

  beginning on June 20, 2020[.]”).

        7.     The arguments Defendant makes regarding COVID tolling in its

  motion to dismiss briefing are therefore foreclosed by the decision in Carter. Carter

  conclusively confirms that the class period in this case spans from December 21,

  2015 through July 30, 2016. See ECF No. 24, PageID.1203 (correctly specifying

 such period) & id., n.3 (detailing time period calculation).


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       8.     The Carter court also rejected the notion that the Administrative Orders

 are ineffective because the Michigan Supreme Court has no authority to modify or

 toll the statute of limitations. Carter held that “[t]he Supreme Court has

 constitutional authority to ‘establish, modify, amend, and simplify the practice and

 procedure in all courts of this state.’” Id. at *4 (citing Mich. Const. 1963, art. 6, § 5).


 Dated: February 1, 2023                  Respectfully submitted,
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